
ORDER ON MANDATE
PER CURIAM.
WHEREAS, the judgment of this court was entered on March 3, 1981, (394 So.2d 562) reversed and remanded the order of the Circuit Court of Dade County, Florida, in the above styled cause; and
WHEREAS, on review of this court’s judgment, by certiorari, the Supreme Court of Florida by its opinion and judgment filed April 29, 1982, 413 So.2d 1187 and mandate now lodged in this court, quashed this court’s judgment.
NOW THEREFORE, It is Ordered that the mandate of this court heretofore issued on March 19, 1981 is withdrawn, the judgment of this court filed March 3, 1981 is vacated, the said opinion and judgment of the Supreme Court of Florida is herewith made the opinion and judgment of this court, the order of the trial court appealed from is reinstated and affirmed. Costs allowed shall be taxed in the trial court (Rule 9.400 a, Florida Rules of Appellate Procedure).
